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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                            CASE NO. 4:17-CR-00269-BSM

DELANDUS MCGHEE                                                                  DEFENDANT


                                            ORDER

       Delandus McGhee’s motion to vacate, set aside, or correct sentence under 28 U.S.C.

section 2255 [Doc. No. 54] is denied.

       McGhee argues that his conviction must be vacated because the government did not

prove in its indictment that the firearm he possessed met the definition under 18 U.S.C.

section 921. By pleading guilty, however, he waived any challenges to the indictment that

are not jurisdictional. See United States v. Todd, 521 F.3d 891, 895 (8th Cir. 2008) (a guilty

plea waives all defects except those that are jurisdictional, and a defective indictment is not

a jurisdictional issue).

       McGhee has also procedurally defaulted on challenging whether his plea was knowing

and voluntary because he did not raise this issue on direct appeal. See Dejan v. U.S., 208 F.3d

682, 685 (8th Cir. 2000) (well-settled that defendant cannot collaterally attack validity of guilty

plea if issue not raised on direct appeal); Bousley v. U.S., 523 U.S. 614, 621–622 (1998)

(only way to avoid procedural default is to show cause and prejudice or actual innocence).

McGhee cannot establish actual innocence because he has not shown that he was factually

innocent. See McNeal v. U.S., 249 F.3d 747 (8th Cir. 2001).


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IT IS SO ORDERED this 17th day of June, 2020.



                                     _______________________________
                                     UNITED STATES DISTRICT JUDGE




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